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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


 Jeff Stark and Nick Nowak as Trustees of             Case No.: 24-cv-01762 (JWB/DJF)
 the District Council No. 82 Health Care
 Fund, et al,

                Plaintiffs,
                                                                    DECLARATION OF
 vs.                                                               CHRISTY E. LAWRIE

 K&C Specialties Corp., and James Isaac
 Spinks, individually,

                Defendants.



CHRISTY E. LAWRIE, acknowledging that this document is signed under the penalty of

perjury, states as follows:

        1.     I am one of the attorneys of record for the Plaintiffs in this action. I have

personal knowledge of the facts set forth herein.

        2.     More than 10 days have passed since K&C Specialties Corp. (“K&C

Specialties”) and James Isaac Spinks (“Spinks”) were served with the January 28, 2025

Order, and to date, K&C Specialties and Spinks have failed to provide any of the Ordered

records.

        3.     At no time have K&C Specialties or Spinks alleged an inability to comply

with the Order.

        4.     Production of the payroll and employment reports is essential, and K&C

Specialties and Spinks failure and refusal to comply with this Court’s Order has adversely

affected the Plaintiffs.



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        5.     Plaintiffs reasonably believe that Spinks has custody and control over the

documents specified in the Order.

        6.     Given that K&C Specialties and Spinks have failed to simply provide the

Plaintiffs payroll and employment reports, the assessment of a civil fine is unlikely to

coerce compliance with the Order.

        7.     This Declaration is made in support of Plaintiffs' Motion for an Order to Show

Cause.



I declare under penalty of perjury that everything I have stated in this document is true

and correct.



                                                         /s/ Christy E. Lawrie
                                                         Christy E. Lawrie




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